                     Case 1:20-cv-03590-JEB      Document 512         Filed 04/04/25      Page 1 of 1




                              April 4, 2025



                              VIA ECF
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                              United States District Court for the District of Columbia
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                              Re:    Federal Trade Commission v. Meta Platforms, Inc., 1:20-cv-
                                     03590-JEB

                              Judge Boasberg:

                              I write on behalf of The New York Times Company (“The Times”) in
                              response to the parties’ Joint Status Report, Dkt. 511, filed late yesterday
                              evening. The report, which was not shared with The Times prior to being
                              filed on the docket, makes lengthy arguments about a matter The Times
                              understood the parties to be continuing to meet and confer about. Namely,
                              whether and when the public will have access to the full evidentiary record
                              in this case.

                              Based on the parties’ report, it appears that Meta takes the position that
                              only those portions of exhibits shown in open court or discussed by
                              witnesses are “judicial records” to which the public right of access
                              attaches. This position, if adopted, would be a severe limitation on the
                              public right of access that cannot be aligned with our nation’s commitment
                              to open justice. It is akin to arguing that the exhibits filed in support of a
                              motion for summary judgment are not “judicial records,” only the snippets
                              that are quoted in the summary judgment brief. That is, clearly, wrong.

                              Given the significance of these issues, we ask that the court stay entry of
                              the proposed order and permit The Times to brief this issue.

                              Respectfully submitted,




                              Dana Green
                              Vice President and Assistant General Counsel
